                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    ASHEVILLE DIVISION
                              DOCKET NO. 1:16-cr-00039-MOC-DLH

 UNITED STATES OF AMERICA,                            )
                                                      )
                                                      )
                                                      )
 Vs.                                                  )                ORDER
                                                      )
 DANNY TERRON RONEY,                                  )
                                                      )
                        Defendant.                    )


       THIS MATTER is before the Court on defendant’s pro se Motion to Dismiss for Violation

of Speedy Trial Act. Having considered defendant’s pro se motion and reviewed the pleadings,

the Court enters the following Order.

                                        ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se Motion to Dismiss for

Violation of Speedy Trial Act (#264) is DENIED as defendant is represented by counsel as

provided in L.Cr.R. 47.1(g).




 Signed: February 6, 2018




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